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                           EXHIBIT A
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                           EXHIBIT B
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Date                 Activity                                                                      Duration   Personnel          Approx. Unit Cost / HouTotal         Total Costs   $   2,945.75
8/23/22 to 8/25/22   Site visits, Meetings, Time Spent Estimating Damaged Area ‐ WRD hydrologist              Sharla Stevenson   $                       $ 2,945.75
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                           EXHIBIT C
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                           EXHIBIT D
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                            EXHIBIT E
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                            EXHIBIT F
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                         United States Department of the Interior
                                      NATIONAL PARK SERVICE
                                    Sleeping Bear Dunes National Lakeshore
                                           9922 Front St. (Hwy M-72)
                                         Empire, Michigan 49630-9797
IN REPLY REFER TO:




              August 2022 Platte Diversion – United States Coast Guard Imagery Request


The National Park Service (NPS) has a positive partnership with the United States Coast Guard Air
Station Traverse City (USCG) and regularly requests their assistance with overflights to conduct aerial
assessments or obtain imagery for further review. Due to USCG’s proximity to Sleeping Bear Dunes
National Lakeshore (National Lakeshore) and frequent shoreline overflights, USCG is an outstanding
asset for any and all aerial needs.

Following the unauthorized diversion of the Platte River, the NPS requested the USCG conduct an
overflight and obtain images of the damage near Platte Point. USCG was required and requested to
conduct this mission due to the need to obtain imagery quickly. The imagery was needed to aid
investigators, resource managers, and National Lakeshore leadership in understanding the extent and
overall damage to the Platte River system. USCG accepted the mission and launched the helicopter with
the sole purpose of obtaining the requested imagery.

Other means of obtaining imagery such as utilizing a drone, Unmanned Aircraft System (UAS), was not
an option as it could not be conducted in a timely manner. Under 36 CFR 1.5 the Superintendent of the
National Lakeshore has prohibited launching, landing or operating a UAS from or on lands and waters
administered by the NPS. However, UAS missions can be flown for administrative purposes by a
Department of the Interior (DOI) carded NPS UAS pilot operating under a fleet UAS program and DOI or
interagency carded pilots, cooperators such as universities, research partners or other outside entities that
conduct uncrewed aircraft operations at the request of the NPS pursuant to a written agreement, or
commercial contractors conducting UAS operations at the request of the NPS using end product contracts.
The National Lakeshore does not have a DOI or interagency carded UAS pilot, cooperative agreements
with outside entities, or contact with any commercial contractors or vendors offering UAS operations.
Therefore, quickly obtaining imagery with a UAS abiding by NPS policy was not achievable.

Additionally, NPS has the ability to obtain imagery from geographic information system (GIS)
specialists. A request to obtain imagery from a NPS GIS Specialist was made shortly after the
unauthorized diversion. However, adequate imagery was not available until August 24, 2022, which was
six days after USCG obtained their images. There are many factors affecting a GIS Specialists ability to
obtain adequate imagery. Spatial resolution is dependent on weather and cloud cover. Additionally, there
are limited satellites resulting in a delay of the ability to obtain imagery immediately upon request.

The decision was made by National Lakeshore leadership to request the assistance of our USCG partners
because it was the quickest and most effective means of obtaining images of the damage to the Platte
River system.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct to
the best of my information and belief.

            JOHN    AKERS     Digitally signed by JOHN AKERS
                              Date: 2024.03.22 16:14:38 -04'00'
Signed by: ______________________________________                 Date: 3-22-2024
             John P. Akers, Chief Law Enforcement Ranger
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                            EXHIBIT G
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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
_________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
            Plaintiff,                     )    Criminal Action No. 1:23MJ230
                                           )
      v.                                   )
                                           )
ANDREW HOWARD,                             )
                                           )
            Defendant.                     )
_________________________________________ )

     DECLARATION OF COMMANDER BENJAMIN LITTS, U.S. COAST GUARD
       IN SUPPORT OF GOVERNMENT’S SENTENCING AND RESTITUTION
                           MEMORANDUM

       Benjamin Litts, pursuant to 28 U.S.C. § 1746, hereby declares under penalty of perjury as

follows:

       1.      I hereby submit this declaration, made in my capacity as an active member of the

United States Coast Guard (the “Coast Guard”), in support of the Government’s Sentencing and

Restitution Memorandum.

       2.      All statements set forth herein are based upon my personal knowledge and facts I

have learned in the course of my Coast Guard duties. If called to testify, I could and would

testify competently to each of the facts set forth herein.

                            Personal Background and Qualifications

       3.      I am a Coast Guard Commander, commissioning in May of 2008. During my

career, I have served in operational billets afloat on cutters for eight years, including a tour as the

Commanding Officer of a Fast Response Cutter, and most recently as the Operations Officer and

Navigator of the Coast Guard Cutter POLAR STAR during its deployment to Antarctica from

the winter of 2022 into the spring of 2023. I have also served in multiple financial resource
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management positions within the Coast Guard, earning the financial management specialty code

designation. I currently serve as the Field Execution Support Division Chief within the United

States Coast Guard’s Office of Resource Management (CG-83). Responsibilities for this position

include developing the of the Coast Guard’s reimbursable rates and Standard Personnel Costs,

managing the United States Coast Guard’s $7 Billion open obligation population in current and

expired phase appropriations, and developing tools to help Coast Guard manage procurement,

finance, property, and logistics processes.

       4.      As a 2008 graduate of the Coast Guard Academy majoring in Electrical

Engineering, I later earned an MBA and MPA from Syracuse University in 2013. I have been an

active Association of Government Accountants Certified Government Financial Manager since

March 13, 2015.


                                Platte River Diversion Overflight


       5.      On 18 August 2022, 11:31 local time, a MH60 Jayhawk, tail number C6014, took

off from Air Station Traverse City to begin an overflight on behalf of the National Park Service

to identify potential damage cause by the diversion of the Platte River. C6014 was crewed by

Pilot in Control CDR Nathan Hudson (USCG, ret.), co-pilot LT Robert Turns (currently

stationed at Coast Guard Air Station Kodiak, Alaska), crew member AET2 Liam Wright (Air

Station Traverse City). Agent Dan Bigger (DNR) joined the flight as a passenger and observer.

The flight was initiated for the sole purpose of supporting the National Park Service request, and

C6014 returned directly to Air Station Traverse City after completing the overflight mission,

landing at 13:31 local time. The total flight time was 2 hours.


                       Costs Incurred by the United States Coast Guard


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        6.      The United States Coast Guard publishes reimbursable standard rates in

COMMANDANT INSTRUCTION 7310.1 (series). The rates applicable to this case were

published in COMMANDANT INSTRUCTION 7310.1V. The process used to determine the

rates in COMMANDANT INSTRUCTION 7310.1V passed a Test of Design review by the

United States Coast Guard Office of Internal Controls (CG-85) in November 2022. The standard

rates are derived using an activity-based costing model, the Expense Allocation Model, to

aggregate the United States Coast Guard’s direct and indirect cost to allocate them to assets. The

rates are calculated by dividing the costs associated with an asset class by a three-year average of

the resource hours per asset class. For aircraft, boats and cutters, the United States Coast Guard

allocates these costs into the following components: direct costs, support costs, general and

administrative costs, pension benefit adjustment, operating asset depreciation, and operating

asset cost of capital.

        7.      Direct cost includes labor, employee benefits, fuel, maintenance, etc. Support

costs include support from Area Commands, Districts, Sectors, Bases, etc. General and

administrative costs include benefit received from activities including legal services, payroll

processing, etc. Pension benefit adjustment includes costs incurred for retirement pay and

medical expenses. Operating asset depreciation represents the depreciation by class of cutter,

boat, aircraft, etc. Operating asset cost of capital includes the annual rate of return applied to the

net book value of cutters, aircraft, boats, buildings, structures, and other assets. To apply these

rates, direct costs, support costs, and general and administrative costs make up the rate for

government reimbursement to other federal agencies, known as the “Inside Government” rate.

Calculation for reimbursement of costs outside government includes all components of the rates.




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       8.      The total out of government rate cost of the Platte River Diversion Overflight was

$40,992.41. The components of the hourly rate of $20,496.21 include direct cost of $8,565.23,

support costs of $2,015.35, general and administrative costs of $5,314.68, pension adjustment of

$2,898.40, depreciation of $571.05, and cost of capital of $1,131.50.

       9.      For the Inside Government rate, the rate at which other federal agencies are

charged, the components of the $15,895.26 hourly rate include only direct cost of $8,565.23,

support costs of $2,015.35, general and administrative costs of $5,314.68. Accordingly, the

inside rate for 2 hours of Coast Guard support is$ 31,790.52.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information and belief.



Dated: 19 March, 2024
                                                        LITTS.BENJAMIN Digitally signed by
                                                                       LITTS.BENJAMIN.M.1094226089
                                                                       Date: 2024.03.21 16:40:41
                                                        .M.1094226089 -04'00'

                                                        Benjamin Litts
                                                        Commander, U.S. Coast Guard




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                            EXHIBIT H
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                                           Commandant                          US Coast Guard Stop 7618
                                           United States Coast Guard           2703 Martin Luther King Jr Ave SE
                                                                               Washington, DC 20593-7618
                                                                               Staff Symbol: CG-834
                                                                               Phone: (202) 372-3573
                                                                               Fax: (202) 372-8394


                                                                               COMDTINST 7310.1V
                                                                               03 NOV 2021
COMMANDANT INSTRUCTION 7310.1V

 Subj: REIMBURSABLE STANDARD RATES

 Ref:    (a) Federal Accounting Standards Advisory Board, Statement of Federal Financial
             Accounting Standards No. 4, Managerial Cost Accounting Standards and Concepts
         (b) Office of Management and Budget, Circular No. A-25 (Revised)
         (c) 31 U.S.C. § 1535, Agency agreement
         (d) 14 U.S.C. § 701, Cooperation with other agencies, States, territories, and political
             subdivisions
         (e) 14 U.S.C. § 712, Contracts with Government-owned establishments for work and
             material (Project Order Authority)
         (f) Financial Resource Management Manual (FRMM), COMDTINST M7100.3 (series)

1. PURPOSE. This Instruction communicates adjustments in the cost of operating Coast Guard
   assets and non-asset missions. It consolidates hourly program costs for: CG mission assets,
   personnel, ATON, pollution clean-up, vehicles, outpatient visits, canine and dive teams, and
   deployable C5I equipment. It assigns responsibility and delegates authority to Commandant
   (CG-83) for the publishing and updating of personnel rates. This Instruction must be used
   when computing reimbursable charges in accordance with References (a) and (b).

2. ACTION. All Coast Guard unit commanders, commanding officers, officers-in-charge,
   deputy/assistant commandants, and office chiefs of headquarters staff elements must comply
   with the provisions of this Instruction. Internet release is authorized.

3. DIRECTIVES AFFECTED. Reimbursable Standard Rates, COMDTINST 7310.1U, is
   hereby cancelled. New rates will take effect 30 days after this Instruction has been signed.




DISTRIBUTION – SDL No. 170
     a   b    c   d    e   f   g   h   i      j   k    l   m    n      o   p   q   r    s    t   u    v    w       x   y   z
 A
 B   X   X    X       X   X    X   X   X          X   X    X    X      X       X   X        X                              X
 C   X   X    X   X   X   X    X       X          X        X    X                                          X           X
 D   X   X        X   X                                                                                                X
 E                                                              X      X                         X
 F
 G
 H                X
     NON-STANDARD DISTRIBUTION:
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COMDTINST 7310.1V


4. DISCUSSION.

   a. The Coast Guard enters into reimbursable agreements with other government agencies,
      states, territories, and political subdivisions in accordance with References (c), (d), and
      (e), as applicable, and the cost of the services and/or supplies must be recovered.
      Lacking a more specific statutory authority as prescribed by References (d) and (e), the
      Economy Act permits heads of agencies or major organizational units within an agency
      to place orders with a major organizational unit within the same agency or another federal
      agency for supplies or services. A condition of the Economy Act requires actual cost
      recovery. The enclosed rates represent full actual cost to the Coast Guard for use of its
      resources.

   b. The standard rates are derived using an activity-based costing system, the Expense
      Allocation Model (EAM), to aggregate the Coast Guard’s direct and indirect operating
      costs and assign those costs to its asset and non-asset missions. The EAM begins with
      USCG total annual operating expense – and breaks it into direct, support and overhead
      costs and allocates these costs to asset classes. These represent the in-government costs.
      Out-of-government costs include all of the above, plus pension, depreciation and the cost
      of capital. The hourly rates are calculated using Activity-Based Management (ABM) and
      survey software technology to capture its costs and levels of effort. The standard rates
      are calculated by dividing the total asset class cost by total program or resource hours per
      class (3 yr. average).

5. DISCLAIMER. This guidance is not a substitute for applicable legal requirements, nor is it
   itself a rule. It is intended to provide operational guidance for Coast Guard personnel and is
   not intended to nor does it impose legally-binding requirements on any party outside the
   Coast Guard.

6. MAJOR CHANGES. Major changes to this Instruction include updates to: Enclosure (1)
   Hourly Standard Rates for Aircraft, Boats, and Cutters and Enclosure (2) Hourly Rates for
   Personnel.

7. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The Office of Environmental Management, Commandant (CG-47) reviewed the
      development of this Commandant Instruction and the general policies contained within it,
      and determined that this policy falls under the Department of Homeland Security (DHS)
      categorical exclusion A3. No further environmental analysis is necessary in accordance
      with the U.S. Coast Guard Environmental Planning Policy, COMDTINST 5090.1
      (series).

   b. This Commandant Instruction will not result in any substantial change to existing
      environmental conditions or violation of any applicable federal, state, or local laws
      relating to the protection of the environment. It is the responsibility of the action
      proponent to evaluate all future specific actions resulting from this policy for compliance
      with the National Environmental Policy Act (NEPA), other applicable environmental




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                                                                          COMDTINST 7310.1V


       mandates, and the U.S. Coast Guard Environmental Planning Policy, COMDTINST
       5090.1 (series).

8. DISTRIBUTION. No paper distribution will be made of this Instruction. An electronic
   version will be located on the Commandant (CG-612) web sites. Internet:
   http://www.dcms.uscg.mil/directives and CG Portal:
   https://cg.portal.uscg.mil/library/directives/SitePages/Home.aspx.

9. RECORDS MANAGEMENT CONSIDERATIONS. Records created as a result of this
   Instruction, regardless of format or media, must be managed in accordance with the records
   retention schedules located on the Records Resource Center CGPortal site:
   https://cg.portal.uscg.mil/units/cg61/CG611/SitePages/Home.aspx.

10. POLICY.

   a. Use the “Outside Government” rates for services provided to customers outside of the
      Federal government. Use the “Inside Government” rates for intra-governmental services.

   b. The Coast Guard currently has a negotiated rate for certain government users of the Polar
      Icebreakers. The Office of Waterways and Ocean Policy (CG-WWM) is responsible for
      publishing and updating the non-standard rate.

   c. The “direct” portion of the standard rates includes both fixed and variable components.
      Therefore, these rates must not be used to calculate reimbursement for Federal
      Emergency Management Agency (FEMA) and foreseeable costs related to contracting
      actions, cost justification for use of military aircraft, or incremental operations costs.
      Rates for these purposes will be promulgated separately.

   d. Reimbursable rates for services provided, which are not covered by this Instruction, must
      be developed in consultation with Commandant (CG-834).

   e. These rates, where appropriate, should be supplemented with out-of-pocket costs such as:

       (1) Extra maintenance required due to extraordinary facility use or abuse, based on the
           actual costs of the additional materials and labor.

       (2) Incidental personnel expenses such as travel and per diem.

       (3) The cost of any special equipment purchased solely for the purpose of providing a
           reimbursable service.

   f. The Office of Resource Management (CG-83) is responsible for publishing and updating
      the Reimbursable Personnel Cost and Standard Personnel Cost tables annually in
      accordance with Reference (f).

11. FORMS/REPORTS. None.




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COMDTINST 7310.1V


12. SECTION 508. This Instruction was created to adhere to Accessibility guidelines and
    standards as promulgated by the U.S. Access Board. If changes are needed, please
    communicate with the Coast Guard Section 508 Program Management Office at:
    Section.508@uscg.mil.

13. REQUEST FOR CHANGES. Address questions concerning these standard rates or the
    determination of other charges to the Costing Team at hqs-dg-lst-cg-834-costing-
    team@uscg.mil.



                                           /MARK J. FEDOR/
                                           Assistant Commandant for Resources
                                           Chief Financial Officer



 Encls: (1) Hourly Standard Rates for Aircraft, Boats, and Cutters
        (2) Hourly Standard Rates for Personnel
        (3) Standard Rates for Replacement or Repair to Damaged Aids to Navigation
        (4) Hourly Standard Rates for Pollution Clean-Up Equipment
        (5) Standard Rates for Vehicles
        (6) Standard Rates for Outpatient Visits
        (7) Standard Rates for Canine Teams
        (8) Standard Rates for Dive Teams
        (9) Standard Rates for Deployable C5I




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                                                                 Enclosure (1) to COMDTINST 7310.1V


HOURLY STANDARD RATES FOR AIRCRAFT, BOATS, AND CUTTERS

1. Rate Computation. The hourly standard rates for aircraft, boats, and cutters are divided into two
   categories “Inside Government” and “Outside Government.” The “Inside Government” rate is for
   use when charging other Federal agencies within the government. The “Outside Government” rate
   is for use when charging all others. FEMA rates are promulgated separately. To access FEMA rates
   navigate to CG Portal at: https://cg.portal.uscg.mil/units/cg83/CG834/SitePages/CG-
   834_Costing_Tools.aspx and review the Variable Rates under Costing Tools.

2. Rate Application - Inside Government. The following are the components of the “Inside
   Government” rate in accordance with Reference (a):

   a. Direct Costs: Represents direct costs incurred by a particular asset class. This includes labor,
      employee benefits, fuel, maintenance, etc.

   b. Support Costs: Costs allocated to a particular asset class for support received from Coast Guard
      support activities, including but not limited to, Area Commands, Districts, Sectors, Sector Field
      Offices, Bases, etc.

   c. General and Administrative (G&A): Costs allocated to a particular asset class to represent
      benefit received from Coast Guard general and administrative activities such as legal services,
      payroll processing, etc.

3. Rate Application - Outside Government. In addition to the costs listed in the “Inside Government”
   rate, the following additional costs are included in the “Outside Government” rate in accordance
   with References (a) and (b):

   a. Pension Benefit Adjustment: Costs incurred for retirement pay and medical expenses.

   b. Operating Asset Depreciation: Depreciation by class of cutter, aircraft, boats, buildings,
      structures, electronics, and other assets.

   c. Operating Asset Cost of Capital: The annual rate of return (equal to the average long-term
      Treasury Bond rate) applied to the net book value of cutters, aircraft, boats, buildings, structures,
      and other assets.




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Enclosure (1) to COMDTINST 7310.1V


Hourly Standard Rates for Aircraft, Boats, and Cutters

                                                                Inside Government Rate                      Outside Government Rate (added components)
                                                                                                                        Op & Other Op & Other
                                                                                                             Pension      Asset         Asset
                                                                  Direct    Support      G&A      Total     Adjustment Depreciation Cost of Cap      Total
Aircraft HC-144                                                    $6,326     $1,531     $4,355   $12,213       $2,124         $516         $823     $15,676
         HC-27J                                                    $8,505       $772     $5,338   $14,615       $2,372         $439         $939     $18,364
         C-37 (Note 1)                                            $10,693     $4,022     $4,993   $19,709       $8,607       $9,668       $2,596     $40,581
         HC-130H                                                   $8,642     $1,479     $5,923   $16,044       $2,761         $467       $1,039     $20,311
         HC-130J                                                   $9,436     $3,102     $7,243   $19,782       $4,246         $587       $1,554     $26,169
         MH-60T Jayhawk                                            $8,565     $2,015     $5,315   $15,895       $2,898         $571       $1,131     $20,496
         MH-65D Dolphin                                            $6,816       $724     $4,310   $11,850       $1,910         $360         $893     $15,014
Boats 49' Stern Loading Bouy Boat                                  $1,318       $691     $1,145    $3,154         $518         $319         $115      $4,106
         AtoN 55’ (ANB)                                            $3,384     $5,382     $1,742   $10,508       $2,103       $1,736         $319     $14,667
         AtoN 63' 64’ (ANB)                                        $2,900     $1,614     $1,413    $5,927         $959         $492         $178      $7,556
         ATON Boat - Small (AB-S)                                  $2,692       $866     $1,175    $4,732         $976         $514         $183      $6,406
         Motor Lifeboat (47')                                      $1,166       $454       $925    $2,544         $458         $253         $109      $3,364
         Response Boat - Medium                                    $1,133       $419       $954    $2,505         $468         $248         $108      $3,329
         Response Boat - Small (25')                                 $531       $278       $356    $1,165         $225         $106          $48      $1,544
         Response Boat - Small (29')                                 $459       $175       $488    $1,122         $184         $116          $45      $1,467
         AtoN Boat – Skiff (AB-SKF) & Shore-Based Skiff (SKF)      $4,512       $656     $4,141    $9,309       $1,438       $1,070         $380     $12,197
         Short-Haul Ice Rescue Skiff (SKF-ICE)                     $3,534       $582     $4,061    $8,176       $1,307         $849         $317     $10,649
         Special Purpose Craft (20’ Airboat, SPC-AIRBOAT)          $4,228     $2,231     $4,896   $11,356       $1,834       $1,032         $420     $14,641
         Special Purpose Craft (22’ Airboat, SPC-AIR)              $4,160     $5,676     $2,799   $12,635       $2,243         $930         $351     $16,159
         Special Purpose Craft - Heavy Weather                     $2,647     $1,360     $2,044    $6,051       $1,061         $464         $298      $7,873
         Special Purpose Craft - Law Enforcement                     $411        $90       $363      $864         $169          $93          $40      $1,166
         Special Purpose Craft - Near Shore Lifeboat               $1,155     $1,176     $1,431    $3,761         $606         $290         $116      $4,774
         Special Purpose Craft - Shallow Water                       $841       $191       $852    $1,884         $318         $188          $78      $2,468
         Special Purpose Craft - Training Boat                     $1,222       $241     $1,431    $2,893         $482         $303         $116      $3,795
         Trailereable ATON Boat (21') (26')                          $934       $345       $858    $2,137         $377         $214          $88      $2,817
         Transportable Port Security Boat (25') (32')              $1,737       $251     $2,159    $4,148         $653         $429         $160      $5,391
         Utility Boat - Medium (25' - 40' 11")                     $8,647     $2,122       $715   $11,484       $2,887         $926         $449     $15,745
Cutters WAGB-420 HEALY Icebreaker                                 $11,791     $2,890     $3,852   $18,533       $5,100         $656       $2,810     $27,098
         WMSL-418 National Security Cutter                         $3,896     $7,353     $5,316   $16,565       $3,540       $6,847       $4,967     $31,919
         WAGB-399 Heavy Icebreaker                                 $8,707     $2,980     $6,159   $17,846       $6,781         $529       $1,807     $26,962
         WHEC-378 High Endurance Cutter                            $3,844     $2,208     $5,704   $11,757       $2,689         $108         $540     $15,094
         WIX-295 Training Barque                                   $2,753     $3,204     $3,709    $9,666       $2,273          $90         $282     $12,311
         WMEC-282 Medium Endurance Cutter                          $1,424     $2,608     $4,508    $8,541       $2,665         $401         $618     $12,225
         WMEC-270 Medium Endurance Cutter                          $2,732     $1,364     $4,634    $8,730       $1,798         $738         $636     $11,901
         WLBB-240 Great Lakes Icebreaker                           $7,387     $2,940     $4,149   $14,475       $4,030         $595       $1,483     $20,583
         WLB-225 Sea Going Buoy Tender                             $3,080     $2,231     $3,274    $8,584       $1,813         $888         $566     $11,852
         WMEC-210 Medium Endurance Cutter                          $1,970       $795     $3,671    $6,436       $1,345         $167         $331      $8,279
         WLM-175 Coastal Buoy Tender                               $2,275     $1,000     $2,317    $5,593       $1,123         $808         $412      $7,935



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                                                                                                                            Enclosure (1) to COMDTINST 7310.1V


                                                                Inside Government Rate                         Outside Government Rate (added components)
                                                                                                                           Op & Other Op & Other
                                                                                                                Pension      Asset         Asset
                                                                   Direct     Support      G&A        Total    Adjustment Depreciation Cost of Cap      Total
        WLIC-160 Inland Construction Tender                         $1,641       $1,280     $1,610    $4,531         $849         $119         $121      $5,619
        WPC-154 Fast Response Cutter                                $1,904       $1,177     $1,722    $4,803         $965       $1,161         $630      $7,560
        WTGB-140 Icebreaking Tug                                    $1,975         $925     $1,636    $4,536       $1,054         $184         $287      $6,061
        WPB-110 Patrol Boat                                         $2,580       $1,353     $1,456    $5,389       $1,607         $153         $281      $7,430
        WLI-100 Inland Buoy Tender                                  $3,350       $2,775     $2,428    $8,553       $1,653         $989         $135     $11,330
        WLIC-100 Inland Construction Tender                         $3,573       $1,611     $1,533    $6,717       $1,738        $881          $178      $9,514
        WPB-87 Patrol Boat                                          $1,199         $642       $881    $2,722         $496        $214          $111      $3,543
        WLIC-75 Inland Construction Tender                          $1,429         $671     $1,445    $3,545         $551        $140           $65      $4,301
        WLR-75 River Buoy Tender                                    $1,132         $517     $1,644    $3,293         $557        $303          $102      $4,255
        WLI-65 Inland Buoy Tender                                   $3,527       $2,659     $1,388    $7,575       $1,674        $934          $474     $10,658
        WLR-65 River Buoy Tender                                    $2,270         $867     $1,706    $4,843         $848        $285          $172      $6,149
        WYTL-65 Small Harbor Tug                                    $2,860       $1,056     $1,375    $5,291         $905        $198          $107      $6,501

Note:   1. Do not include Depreciation or Cost of Capital when computing rates for the leased C-37.




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                                                                Enclosure (2) to COMDTINST 7310.1V


HOURLY STANDARD RATES FOR PERSONNEL

1. Rate Computation. Hourly standard rates for personnel services are based on prevailing annual
   standard personnel costs related to employee productive hours as reflected in Coast Guard
   Manpower Requirements Manual, COMDTINST M5310.6 (series). The rates are presented on the
   following page. Factors representing incurred but unfunded retirement and medical costs are
   included for customer effort external to the government.

2. Rate Application. Personnel rates provided in this Enclosure are a derivative of the Standard
   Personnel Costs and are intended to be applied to reimbursement sought (in arrears), where the Coast
   Guard seeks reimbursement for services provided after the fact, or for long-term response events.
   Average hourly rates for customers inside and outside the government are presented for those
   situations that require computations on an hourly basis.

   a. Reimbursements for personnel services that involve extended periods of time (e.g., monthly or
      yearly) can be found on CG Portal at:
      https://cg.portal.uscg.mil/units/cg83/CG834/SitePages/CG-834_Costing_Tools.aspx and review
      the Reimbursable Personnel Cost (RPC) worksheets for the desired fiscal year. If assistance is
      still needed, please contact Commandant (CG-834) Costing Team for appropriate guidance.

   b. Of particular note, charges for normal crews are contained within the rates for Aircraft, Boats,
      and Cutters. Please use standard personnel rates listed below only where additional personnel
      reimbursement is appropriate.

   c. Actual costs for travel and per diem, if applicable, must also be included in reimbursement. Use
      the following link for travel and per diem rates:
      https://www.defensetravel.dod.mil/site/perdiem.cfm.

   d. Reimbursable agreements that utilize apportioned reimbursable budget authority should use the
      RPC tables, which provide calculated costs for reimbursable positions to be included in planned
      or anticipated Inter/Intra-Agency agreements when the Coast Guard is the Seller agency. The
      rate table is found on CG Portal at: https://cg.portal.uscg.mil/units/cg83/CG834/SitePages/CG-
      834_Costing_Tools.aspx.




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                          HOURLY RATES FOR PERSONNEL ($)

               In Gov't       Out Gov't                       In Gov't   Out Gov't
                  ($)            ($)                             ($)        ($)
 Rank            Rate           Rate            Grade           Rate       Rate
 O-10            165            244             ES-00           155        167
 O-9             160            237             AL-00           140        151
 O-8             148            218             AD-00           109        118
 O-7             145            214             GS-15           128        137
 O-6             130            190             GS-14           111        119
 O-5             115            169             GS-13            93        100
 O-4             103            150             GS-12            78         84
 O-3              87            127             GS-11            69         74
 O-2              73            106             GS-10            60         65
 O-1              57             82             GS-09            58         63
 CADET            24             33             GS-08            55         59
                                                GS-07            49         52
 W-4             91              134            GS-06            45         48
 W-3             84              123            GS-05            41         44
 W-2             79              116            GS-04            39         42
                                                GS-03            32         35
 E-10            109             161
 E-9              88             129            WG-15           66          71
 E-8             78              113            WG-14           64          68
 E-7             71              103            WG-13           62          66
 E-6             63              92             WG-12           59          64
 E-5              55              80            WG-11           57          61
 E-4              46              66            WG-10           55          59
 E-3              37              53            WG-09           52          56
 E-2              34              49            WG-08           50          54
 E-1              25              35            WG-07           48          51
                                                WG-06           45          48
                                                WG-05           42          45
                                                WG-04           40          43
                                                WG-03           37          40
                                                WG-02           34          37




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                                                                Enclosure (3) to COMDTINST 7310.1V


STANDARD RATES FOR REPLACEMENT OR REPAIR OF DAMAGED AIDS TO
NAVIGATION

1. Rate Computation. Two possible components may apply when computing a charge for repair or
   replacement of a damaged or destroyed aid to navigation (ATON). These components are discussed
   below, however, they do not include vessel, boat, or vehicle time which must be determined
   separately based upon this Instruction. Additional policy on charges for aids to navigation work is
   contained in 33 C.F.R. Part 74.

2. Rate Application - Replacement Costs. For costs associated with replacement of fixed or floating
   ATON, refer to the price lists located on the Waterways Operations Product Line (WOPL) website at
   the following URL:
   https://cg.portal.uscg.mil/units/silc/CE%20Product%20Lines/WW/SitePages/Home.aspx.

   a. Replacement costs for floating ATON shall consist of the buoy, chain, associated mooring
      hardware and sinker, signal equipment (to include retro-reflective tape and lettering/numbering),
      and the related transportation cost.

   b. Replacement cost for fixed ATON structures shall be the actual cost of construction materials
      and associated signal equipment. If replacement is accomplished using a contractor, charges
      should include contract cost, contract management cost (including inspection) and actual cost of
      government furnished equipment.

   c. Charges shall include the cost of temporary floating aids until the damaged aid is replaced.

   d. Replacement costs shall also include government labor and be computed using the personnel
      rates contained in this Instruction.

3. Rate Application - Temporary Aids. Charges for temporary aids shall include the actual cost for the
   retrofit and signal equipment needed to place the aid in the water. After retrieval of the temporary
   aid, include the cost to place the buoy in ready-for-issue condition.

   a. Servicing costs vary throughout the Coast Guard and shall be computed locally at the District
      level by prorating costs based on the buoy type, operational region, and relief period. Costs
      should then be verified by WOPL. The monthly servicing cost for a steel buoy is computed by
      dividing overhead cost by the number of months in a relief cycle. If a buoy has a 9-year relief
      cycle, the overhead cost is divided by 108 months.

   b. Engage the WOPL for current overhaul costs by buoy type and operational region.

   c. In applying these computed rates, one month is 16 or more days of use.

   d. Labor for buoy servicing at CG support facilities shall be computed using personnel rates
      contained in this Instruction. Labor for buoy servicing at commercial facilities is captured in
      overhaul costs provided in paragraph 3.a.

4. Questions concerning computing charges for damaged aids shall be referred to (primary) WOPL at
   D05-DG-SILC-WOPL or (secondary) Commandant (CG-NAV-1) at HQS-DG-lst-CG-NAV-1.


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                                                                 Enclosure (4) to COMDTINST 7310.1V


HOURLY STANDARD RATES FOR POLLUTION CLEAN-UP EQUIPMENT

1. Rate Application. Apply these charges for every full or fractional hour of use, excluding transit
   time. Make separate charges for:

   a. Cost of Coast Guard Strike Team personnel operating and/or supervising operations of
      equipment based on standard rates for personnel, Enclosure (2);

   b. Cost of Coast Guard Unmanned Aerial System (UAS) requires a Pilot, Observer, and Mission
      Commander, Enclosure (2);

   c. Cost of Coast Guard Combat rubber raiding craft (CRRC’s) to deploy with a Coxswain and boat
      crew members, Enclosure (2);

   d. Actual fuel costs associated with use of equipment including fuel required for transit and
      sustaining, per Enclosure (5);

   e. Cost of transporting equipment to and from the job site;

   f. Actual reimbursement cost when performed by a contractor; and,

   g. Actual cost to decontaminate equipment following usage. To obtain cost guidance on any other
      equipment not listed below contact Commandant (CG-MER-1) or Shore Infrastructure Logistics
      Center (SILC) – Waterways Operations Product Line (WOPL).

           Equipment Type                   Rate                 Equipment Type                    Rate
               Systems                                        Hydraulic Power Units
Large Pumping System w/ Trailer             $136        Deutz Prime Mover                              $22
Viscous Oil Pumping System                  $149        Highstar Prime Mover                           $30
VOSS Trailered System                       $371            Generators / Compressors
Inclined Plane DIP600 Skimming
                                            $259        Generac 6.5 KW                                  $4
System
Hazmat Response Trailer (HMRT)              $296        Genpro 10.5 KW                                  $5
Command & Control Trailer (C2)              $150        Honda 4.5 KW                                    $3
Inflatable Boom (5 reels) w/ Trailer        $288        Honda 5.5 KW                                    $3
Level A Trailer/Basic Incident
                                              $79       Honda EX 1000 1.0 KW                            $2
Command Post (BICP)
Boom Mooring System                           $48       Honda EB 11000 10.5 KW                          $5
Small Pump System                             $81       Ingersol-Rand Compressor                       $12
                Booms                                      Temporary Storage Devices
Fast Sweep Boom                               $38       CANFLEX Seaslug (12,000 gal)                $73
Foam Filled Boom (500 ft)                     $25       CANFLEX Seaslug (25,000 gal)               $102
Foam Filled Boom, 3 Boxes ea 500 ft
                                              $88             Monitoring Equipment
w/ Trailer
Inflatable Boom, 48 in (650 ft/1 reel)        $58       MultiRAE                                       $8



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              Pumps                                  AreaRAE                                  $13
CCN-150 Pump                               $15       UltraRAE 3000                            $13
DOP 160 Pump                                $9       Dustrak                                  $17
DOP 250 Pump                               $14       Fluorometer                              $13
Non-Submersible Pumps                      $19                Trailers / Vehicles
             Robotics                                42 ft VOSS Trailer                       $80
FIRSTLOOK 110                              $24       48 ft VOSS Trailer                       $80
PACKBOT 510                               $123       All Terrain Vehicle (ATV)                $15
            Skimmers                                 Unmanned Aerial System (UAS)             $18
DESMI 250 Skimmer and Control Std          $40
High Speed Skimmer                         $77

Note: Spilled Oil Recovery System (SORS) is not listed as a standard rate cost item because it is
considered part of the Allowance Equipment List (AEL) for the Juniper Class Buoy Tenders (WLB’s).
Each SORS consists of two of the following: DEMSI Terminator Weir Skimmer, SORS Control Stand,
Hydraulic Hoses, Outrigger Arm, Fast Sweep Boom, and Canflex Bladders. Some of these components
are listed above, but not as a complete SORS unit. The standard rate for the WLBs includes the AEL
items as part of the rate. For additional information, contact SILC WOPL at 252-331-6000, x3031.




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                                                                Enclosure (5) to COMDTINST 7310.1V


STANDARD RATES FOR VEHICLES

1. Rate Computation. Standard rates for vehicles are available from General Services Administration
   (GSA) at the following web site: http://www.gsa.gov/vehiclerates. These rates represent averages
   for similar vehicle types from different regions of the country.

2. Rate Application. Rates are applied for every full or fractional mile or month of use. These rates
   can be prorated to a daily rate, if necessary. If the vehicle is a commercial rental or GSA lease,
   charge actual cost of the rental, if available. Include a charge for personnel if the driver is not
   attached to another unit (such as Aircraft, Boats, or Cutters) involved in the operation.

   Note: The most current GSA vehicle rates apply.

3. For additional information, contact Commandant (CG-834), Costing Team at 202-372-3573.




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                                                                Enclosure (6) to COMDTINST 7310.1V


STANDARD RATES FOR OUTPATIENT VISITS

1. Rate Computation. All medical services provided to authorized beneficiaries in Coast Guard
   medical facilities are recorded using paper records and electronic healthcare systems (DoD and
   TRICARE). Personally Identifiable Information (PII) is protected in accordance with DHS
   Handbook for Safeguarding Sensitive Personally Identifiable Information. Protected Health
   Information (PHI) is managed in accordance with Health Insurance Portability and Accountability
   Act of 1996 (HIPAA). Commandant (CG-11) is responsible for management and oversight of the
   medical records. Commandant (CG-11) is responsible for executing reimbursable agreements with
   other government agencies. Rates for the exchange of medical goods and services are determined in
   accordance with 10 U.S.C. § 1085 and 14 U.S.C. § 506. Commandant (CG-832) is responsible for
   all activities related to recording accounts receivable transactions and reconciling them in the Coast
   Guard Core Accounting System (CAS). The Coast Guard Finance Center is responsible for
   invoicing the appropriate uniformed service.

2. For further guidance, contact Commandant (CG-832) at HQS-DG-LST-CG-832@uscg.mil or 202-
   475-5058.




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                                                                   Enclosure (7) to COMDTINST 7310.1V


STANDARD RATES FOR CANINE TEAMS

1. Expense Reimbursement. The Military Working Dog (MWD) is considered “Government
   Equipment” for reimbursement of expenses incurred by the handler while performing official travel.
   When computing standard rates for a canine team’s services, the following charges should apply:

   a. Canine handler based on the standard rates for personnel per Enclosure (2);

   b. Canine handler cover officer based on rates for personnel per Enclosure (2);

   c. Transportation cost of a military working dog, with the handler in the cabin, or as cargo; whether
      included in the handler’s fare or when billed separately;

   d. Standard rate for vehicles per Enclosure (5);

   e. Parking and Toll fees;

   f. Air Fare (includes kennel handling fees and additional ticketing fees for military canines);

   g. Vehicle rental for full-sized rental car, truck, or sport utility vehicle;

   h. Cleaning fee for rental vehicle when transporting a canine;

   i. Full locality Per Diem (lodging, meals, and incidentals) for Canine handler and cover officer;

   j. All lodging fees (cleaning, handling) associated with military canines; and

   k. All kennel and handling fees at an airport or place of lodging for military canines.

2. Application. Reimbursable rates should be applied for official travel only and should include
   vehicle mileage to and from the team’s home base to the requesting authority’s site. Kenneling,
   canine fees, air fare, vehicle rental, and per diem should be charged for missions that require
   overnight stays outside the team’s commuting area.

   Note: A MWD is not considered a pet. When calculating reimbursement charges, personnel off-duty
   time should not be included.

3. For further guidance, contact Commandant (CG-721) at HQS-DG-LST-CG-721@uscg.mil or 202-
   372-2647.




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                                                              Enclosure (8) to COMDTINST 7310.1V


STANDARD RATES FOR DIVE TEAMS

1. Rate Computation. When computing standard rates for a dive team’s services, the following charges
   should apply:

   a. Each dive team member based on standard rates for personnel, Enclosure (2);

   b. Standard rate for vehicles, Enclosure (5);

   c. Vehicle rental;

   d. Parking and toll fees;

   e. Air fare;

   f. Vessel rental;

   g. Per diem; and

   h. Dive equipment rental (typically limited to SCUBA bottles).

2. Rate Application. Rates should be applied for every full hour of use and should include vehicle
   mileage to and from the team’s home base to the requesting authority’s site. Per diem should be
   charged for missions that require overnight stays outside the team’s commuting area. A normal dive
   team is comprised of six (6) members. More divers may be required based upon mission needs.

   Note: When calculating “usage” charges, personnel off-duty time should not be included.

3. For additional information, contact Commandant (CG-7212) at HQS-DG-LST-CG-7212@uscg.mil
   or 202-372-2575.




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                                                                 Enclosure (9) to COMDTINST 7310.1V


STANDARD RATES FOR DEPLOYABLE C5I

1. Rate Computation. Charges shall be applied for every full or fractional day of use, including transit
   time for mobile assets and personnel. Separate charges are incurred for:

   a. Cost of Coast Guard Communications Command (COMMCOM) Deployable and Contingency
      Communications (DCC) technicians setting up and/or supervising the use of equipment
      including per diem and lodging expenses, per Enclosure (2).

   b. Actual fuel costs associated with use of equipment including fuel required for transit and
      sustaining generator power systems, per Enclosure (5).

   c. Costs outside of personnel and fuel are as follows:

       (1)   Enhanced Mobile Incident Command Center (eMICP):

             (a)   $27,960/mo;

             (b)   $6,524/wk;

             (c)   $937/day; and,

             (d)   The daily cost to add satellite data and telephony (Voice Over IP) is $1,423.

       (2)   Mobile Communications Vehicle (MCV):

             (a)   $27,960/mo;

             (b)   $6,524/wk;

             (c)   $937/day; and,

             (d)   The daily cost to add satellite data and telephony (Voice Over IP) is $1,101.

       (3)   Commercial Satellite Service (Data and Telephony):

             (a)   Deployable Contingency Communications System (DCCS) satellite based Fly-Away
                   kits:

                   1) $257/day; 2 Mbps up – 512 Kbps down / $100 activation and $100 deactivation
                      fee;

                   2) $1,799/wk;

                   3) $2,570/10 days; and,

                   4) $7,710/mo (30 days).




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             (b)   DRS: No cost associated.

                   Note: Data and telephony require two separate satellite systems and are billed
                   separately. The billing period resets every (30) days and is per kit.

       (4)   Portable SIPRNET Kit (PSK): The Portable SIPRNet Kit will require a satellite connection
             billed separately per Paragraph 1.c. above. The PSK is typically deployed with one (1)
             supporting technician. The requesting unit incurs the costs for technician and connectivity.

       (5)   Standard rates for personnel apply per Enclosure (2).

       (6)   Standard rates for vehicles apply per Enclosure (5).

             Note: All DCC assets use diesel fuel, which is estimated using prevailing market rates. A
             minimum of four (4) personnel will accompany the eMICP and MCV. Depending on the
             dynamics of the mission, more personnel may be assigned as necessary by COMMCOM.

2. To obtain a complete cost analysis for use of the Deployable C5I assets/equipment, contact the
   LANTAREA Deployable C5I Asset Manager at (757) 398-6330 or COMMCOM at COM-SMB-
   Watch@uscg.mil or at (757) 421-6240. COMMCOM can fund most Coast Guard internal requests.
   Requesting commands will be aware of all charges prior to final approval/authorization and
   deployment of resources.




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                             EXHIBIT I
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TV0001ARFQ (TANUM0001QH0R)
                        Primary Traveler    LOGAN BAHM (ID 40250313P)                                                                                         Purpose        Mission Operational

                        Document Type       Voucher                                                                                                       Travel Dates       02/04/2024 - 02/09/2024

                              Type Code     Trip By Trip                                                                                                    Trip Name        SLBE Case Grand Rapids

                           Organization     DOIPNPSIM                                                                                                        Currency        USD

                              Total Cost    1,591.89
                          Current Status    CREATED                                                                                                 Per Diem Locations       BOZEMAN, MT / GRAND RAPIDS, MI / BOZEMAN, MT

                             Next Status    VOUCHER SIGNED                                                                                           Document Details        Traveler's case is being summoned for trial at Grand Rapids, MI. Flight
                                                                                                                                                                             on 2/5 to allow preparation for court on 2/7 and return flight 2/8. One
                                                                                                                                                                             night stays in BZN before early morning flight and late night arrival on
                                                                                                                                                                             2/8 to stay within TDY policy with combining work and travel days
                                                                                                                                                                             under 12 hours. SLBE will cover all expenses.GOV snowmobile from
                                                                                                                                                                             Old Faithful duty station to West Yellowstone. POV option chosen at
                                                                                                                                                                             reduced reimbursement rate. Economy Parking BZN x4 days $40 and
                                                                                                                                                                             Baggage Fees for 1 bag $35. Hotel zeroed out 2/5-2/8 due to staying
                                                                                                                                                                             with relative. Tax refund receipts combined with original lodging
                                                                                                                                                                             receipts. Traveler charged parking on 2/4 with lodging. Email
                                                                                                                                                                             Correspondence attached.



Traveler Profile
                                  Name      BAHM, LOGAN REID                                                                                                         ID      1001559553

                                    TrID    40250313P                                                                                                     Organization       DOIPNPSIM

                                   Title                                                                                                                  Duty Station       YELL
                             Security Cl                                                                                                                           Card      CARD HOLDER
                          Office Address    PO BOX 168                                                                                                           EMAIL       LOGAN_BAHM@NPS.GOV
                                            YELLOWSTON NATIONAL PARK, WY 82190
                                                                                                                                                            Cell Phone
                           Office Phone     307-690-0814
                                                                                                                                                          Home Phone
                          Home Address
                                                                                                                                                       Alternate Phone




Trip Details

        Document Information
                                           Purpose     Traveler's case is being summoned for trial at Grand Rapids, MI. Flight on 2/5
                                                       to allow preparation for court on 2/7 and return flight 2/8. One night stays in
                                                       BZN before early morning flight and late night arrival on 2/8 to stay within TDY
                                                       policy with combining work and travel days under 12 hours. SLBE will cover all
                                                       expenses.GOV snowmobile from Old Faithful duty station to West Yellowstone.
                                                       POV option chosen at reduced reimbursement rate. Economy Parking BZN x4
                                                       days $40 and Baggage Fees for 1 bag $35. Hotel zeroed out 2/5-2/8 due to
                                                       staying with relative. Tax refund receipts combined with original lodging
                                                       receipts. Traveler charged parking on 2/4 with lodging. Email Correspondence
                                                       attached.

        Itinerary Location
         From                                 To                                    Itinerary Location                                     Purpose                                                                     Per Diem Rates

         02/04/24                             02/05/24                              BOZEMAN, MT                                            Mission Operational                                                         171.00 / 79.00

         02/05/24                             02/08/24                              GRAND RAPIDS, MI                                       Mission Operational                                                         117.00 / 64.00

         02/08/24                             02/09/24                              BOZEMAN, MT                                            Mission Operational                                                         171.00 / 79.00




        Document Totals
                                  Total Expenses       1,591.89                                                                                       Advance Requested         0.00
                          Reimbursable Expenses        427.72                                                                                              Net to Traveler      427.72

                    Non-Reimbursable Expenses          1,164.17                                                                                        Net to Government        1,164.17
                                                                                                                                                       Pay to Charge Card       0.00



        Document Totals by Expense Category
         Expense Category                                                                                                                                         Cost                                                                                  Advance Amount

         Com. Carrier                                                                                                                                            671.20                                                                                           0.00

         Excess Air/Bag Fees                                                                                                                                      70 00                                                                                           0 00

         Lodging Taxes & Misc                                                                                                                                     14.00                                                                                           0.00

         Lodging-PerDiem                                                                                                                                         342.00                                                                                           0.00

         M&IE-PerDiem                                                                                                                                            389.50                                                                                           0.00

         Mileage                                                                                                                                                  38.22                                                                                           0.00

         Transaction Fees                                                                                                                                         12.47                                                                                           0.00

         Transportation                                                                                                                                           40.00                                                                                           0.00

         Transxn Fees                                                                                                                                             14.50                                                                                           0.00

         Total Expenses                                                                                                                                      1,591.89                                                                                             0.00




        Reservations Summary
         Reservation Type                                                                                      Vendor                     Ticket#                                                                  Location                                     Cost

         COMM-CARR                                                                                             United                     1008685459                                                                                                            671.20

         COMM-CARR                                                                                             United                     1008685459                                                                                                              0.00

         COMM-CARR                                                                                             United                     1008685459                                                                                                              0.00

         COMM-CARR                                                                                             United                     1008685459                                                                                                              0.00
       Case 1:23-mj-00230-RSK ECF No. 20-1, PageID.279 Filed 03/27/24 Page 41 of 74
Trip Itinerary
                 From   BZN-Bozeman, MT (USA)                                                                                                       To      DEN-Denver, CO (USA) (Denver IntL. Apt)

   Air
   Monday February 05, 2024
   BZN-Bozeman, MT (USA) to DEN-Denver, CO (USA) (De
   Feb 05               United 491                                                                                        Duration 1 Hour 57 Minutes Nonstop
                        Denver, CO (USA) (Denver IntL. Apt) 02/05/2024 8:57AM                                             Denver, CO (USA) (Denver IntL. Apt) 02/05/2024 8:57AM
                        Confirmation Number

                        Flight Information
                        Distance 524 miles                                                                                Emissions 341.4 lbs of CO2
                        No Seat Assigned                                                                                  Cost 671.20 USD
   DEN-Denver, CO (USA) (De to GRR-Grand Rapids, MI (US
   Feb 05               United 2637                                                                                       Duration 2 Hours 30 Minutes Nonstop
                        Grand Rapids, MI (USA) 02/05/2024 2:35PM                                                          Grand Rapids, MI (USA) 02/05/2024 2:35PM
                        Confirmation Number

                        Flight Information
                        Distance 1012 miles                                                                               Emissions 659.3 lbs of CO2
                        No Seat Assigned
   Thursday February 08, 2024
   GRR Grand Rapid , MI (US to DEN Denver, CO (USA) (De
   Feb 08               United 2171                                                                                       Duration 3 Hours 5 Minutes Nonstop
                        Denver, CO (USA) (Denver IntL. Apt) 02/08/2024 4:45PM                                             Denver, CO (USA) (Denver IntL. Apt) 02/08/2024 4:45PM
                        Confirmation Number

                        Flight Information
                        Distance 1012 miles                                                                               Emissions 659.3 lbs of CO2
                        No Seat Assigned
   DEN-Denver, CO (USA) (De to BZN-Bozeman, MT (USA)
   Feb 08               United 778                                                                                        Duration 1 Hour 53 Minutes Nonstop
                        Bozeman, MT (USA) 02/08/2024 9:19PM                                                               Bozeman, MT (USA) 02/08/2024 9:19PM
                        Confirmation Number

                        Flight Information
                        Distance 524 miles                                                                                Emissions 341.4 lbs of CO2
                        No Seat Assigned



Expenses
Date                                 Description                                                                        Category                                                               Cost    Pay Method                                     Per Diem

02/01/2024                           Travel Fee                                                                         Transaction Fees                                                       12.47   GOVCC-C

                                     Comment: OTRS Domestic-Intl w-Air-Rail

02/04/2024                           Lodging/Hotel Taxes                                                                Lodging Taxes & Misc                                                    2.00   GOVCC-C

02/04/2024                           Lodging/Hotel Fees                                                                 Lodging Taxes & Misc                                                   10.00   GOVCC-C

                                     Comment: parking

02/04/2024                           Lodging/Hotel Charge                                                               Lodging-PerDiem                                                    171.00      GOVCC-C                                             Yes

02/04/2024                           M&IE                                                                               M&IE-PerDiem                                                           59.25   REIMBURSABLE                                        Yes

02/04/2024                           POV When Govt Vhcle Avail                                                          Mileage                                                                38.22   REIMBURSABLE

                                     Comment: Roundtrip mileage to Airport from West Yellowstone, MT.

02/05/2024                           Commercial Airfare                                                                 Com. Carrier                                                       671.20      GOVCC-C

02/05/2024                           Baggage Expenses                                                                   Excess Air/Bag Fees                                                    35.00   GOVCC-C

02/05/2024                           Lodging/Hotel Charge                                                               Lodging-PerDiem                                                         0.00   GOVCC-C                                             Yes

02/05/2024                           M&IE                                                                               M&IE-PerDiem                                                           64.00   REIMBURSABLE                                        Yes

02/06/2024                           Lodging/Hotel Charge                                                               Lodging-PerDiem                                                         0.00   GOVCC-C                                             Yes

02/06/2024                           M&IE                                                                               M&IE-PerDiem                                                           64.00   REIMBURSABLE                                        Yes

02/07/2024                           Lodging/Hotel Charge                                                               Lodging-PerDiem                                                         0.00   GOVCC-C                                             Yes

02/07/2024                           M&IE                                                                               M&IE-PerDiem                                                           64.00   REIMBURSABLE                                        Yes

02/08/2024                           Baggage Expenses                                                                   Excess Air/Bag Fees                                                    35.00   GOVCC-C

02/08/2024                           Lodging/Hotel Taxes                                                                Lodging Taxes & Misc                                                    2.00   GOVCC-C

02/08/2024                           Lodging/Hotel Charge                                                               Lodging-PerDiem                                                    171.00      GOVCC-C                                             Yes

02/08/2024                           M&IE                                                                               M&IE-PerDiem                                                           79.00   REIMBURSABLE                                        Yes

02/08/2024                           Parking Expense                                                                    Transportation                                                         40.00   GOVCC-C

02/09/2024                           M&IE                                                                               M&IE-PerDiem                                                           59.25   REIMBURSABLE                                        Yes

02/18/2024                           TDY Voucher Fee                                                                    Transxn Fees                                                           14.50   GOVCC-C

                                                                                                                                                                                                                          Total Non-Per Diem Expenses       860.39

                                                                                                                                                                                                                                 Total Per Diem Expenses    731.50




Per Diem Allowances
                                                                                                                                        Ldg       Ldg    M&IE       M&IE
Date                                                          Rate                                                                     Cost   Allowed    Cost    Allowed   B               L                 D           Conf%

02/04/2024                                                    171.00/ 79.00                                                        171.00      171.00    59.25     59.25

02/05/2024                                                    117.00/ 64.00                                                            0.00      0.00    64.00     64.00

02/06/2024                                                    117.00/ 64.00                                                            0.00      0.00    64.00     64.00

02/07/2024                                                    117.00/ 64.00                                                            0.00      0.00    64.00     64.00

02/08/2024                                                    171.00/ 79.00                                                        171.00      171.00    79.00     79.00

02/09/2024                                                    171.00/ 79.00                                                            0.00      0.00    59.25     59.25

                                                                                                                                                                                Total Per Diem Allowances                                                   731.50




Payment Detail Information
Organization                                  Label                  Accounting String                                                                                                                  Payment Method                                     Amount

DOI                                           SLBE                   PPMWSLBELO///244/PPMPRLE1Z.Y00000////                                                                                              GOVCC-C                                            1,164.17

DOI                                           SLBE                   PPMWSLBELO///244/PPMPRLE1Z.Y00000////                                                                                              REIMBURSABLE                                        427.72




Totals by Accounting Label
Organization                                               Label                         Accounting String                                                                                                                                                 Amount

DOI                                                        SLBE                          PPMWSLBELO///244/PPMPRLE1Z.Y00000////                                                                                                                             1,591.89
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             Totals by Payment Method
               Payment Method                                                                                                                                                                                                                      Amount

               GOVCC-C                                                                                                                                                                                                                             1,164.17

               REIMBURSABLE                                                                                                                                                                                                                          427.72




             Account Summary
                                                   Org       DOI                                                                            Accounting Code   PPMWSLBELO///244/PPMPRLE1Z.Y00000////

                                             Acct Label      SLBE

               Expense Category                                                         Fiscal Year                                                                                                                                                Amount

               Com. Carrier                                                             24                                                                                                                                                           671.20

               Excess Air/Bag Fees                                                      24                                                                                                                                                            70.00

               Lodging Taxes & Misc                                                     24                                                                                                                                                            14.00

               Lodging-PerDiem                                                          24                                                                                                                                                           342.00

               M&IE-PerDiem                                                             24                                                                                                                                                           389.50

               Mileage                                                                  24                                                                                                                                                            38.22

               Transaction Fees                                                         24                                                                                                                                                            12.47

               Transportation                                                           24                                                                                                                                                            40.00

               Transxn Fees                                                             24                                                                                                                                                            14.50

                                                                                        Accounting Code Total                                                                                                                                      1,591.89




                                                                                                                                                      Total                                                                     1,591.89



             Attachments
               Attachment File Name                                                                                                                              Uploaded Timestamp

               Bahm Grand Rapids Trip worksheet - signed.pdf                                                                                                     01/24/2024 1:39:09 PM

               Bahm Travel TA Notes.pdf                                                                                                                          01/25/2024 8:19:23 AM

               Taxes and Parking Correspondance - Outlook.pdf                                                                                                    02/26/2024 8:49:42 AM




             Receipt Checklist
               Date                            Description                          Cost     Receipt Filename                                                                                    Uploaded Timestamp

               02/05/2024                      AIRCommercial Airfare               671.20    Bahm Total Flight including 02.05.24 Bag.pdf                                                        02/18/2024 3:14:23 PM




 Audits
 No Failed Audits Exist.



 Document History - 02/26/2024 Voucher: TV0001ARFQ
  Status                                          Date                 Time                                           Signature Name                                                                       Comments

  CREATED                                         02/18/2024           2:49PMEST                                      DAVIS, WHITNEY SUE
                                                                                                                      Net Adjustment:0.00


                                                                                                                                                                                   I certify that the electronic signatures listed above are valid and on file




                                                                                                                                                 SIGNED                                                                             DATE



 Document Signatures


        Traveler/Preparer Name                                                                                                        Approver Name


   Traveler/Preparer Signature                                                                                                   Approver Signature


                                      Date                                                                                                        Date




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Element Bozeman
25 Mendenhall Street
Bozeman, MT 59715
United States Of America
Tel: 406-582-4972


LOGAN BAHM                                                  Page Number            :      1
                                                            Guest Number           :      264942
                                                            Folio ID               :      A
                                                            Arrive Date            :      04-FEB-24     18:23
                                                            Depart Date            :      05-FEB-24     05:29
                                                            No. Of Guest           :      1
                                                            Room Number            :      507
                                                            Marriott Bonvoy Number :




Element Bozeman FEB-05-2024 05:40 BETZAIDA
Date        Reference       Description                                                Charges (USD)       Credits (USD)
04-FEB-24 RT507             Room Chrg - Special Corp                                           171.00
04-FEB-24 RT507             State Tax                                                           13.68
04-FEB-24 RT507             City/Local Tax                                                       2.00
04-FEB-24 RT507             Parking                                                             10.00
05-FEB-24 VI                Visa-1915                                                                             -196.68
            ***For Authorization Purpose Only***
            xxxxxx1915
            Date               Time           Code                Authorized
            04-FEB-24          18:23          066190                 188.10
            04-FEB-24          02:11:00            009735                   75.00



             Approve EMV Receipt for VI - 1915: PIN Verified
             IAD:06011203A0E002 TVR:0080048000 AID:A0000000031010
             AID:A0000000031010 Application Label:CITI VISA TSI:E800
             ARC:00 CHIP READ



                                     ** Total                                                 196.68              -196.68
                                     *** Balance                                                0.00




                                                   Continued on the next page
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Element Bozeman
25 Mendenhall Street
Bozeman, MT 59715
United States Of America
Tel: 406-582-4972


LOGAN BAHM                                                              Page Number             :        2
                                                                        Guest Number            :        264942
                                                                        Folio ID                :        A
                                                                        Arrive Date             :        04-FEB-24           18:23
                                                                        Depart Date             :        05-FEB-24           05:29
                                                                        No. Of Guest            :        1
                                                                        Room Number             :        507


        I agreed to pay all room & incidental charges.




Tell us about your stay. www.element.com/reviews



EXPENSE SUMMARY REPORT
                                                              Currency: USD



Date                Room & Tax        Food & Bev         Telecom               Other          Total           Payment
02-04-2024                  0.00              0.00            0.00           196.68         196.68                 0.00
02-05-2024                  0.00              0.00            0.00              0.00           0.00            -196.68
                       ------------      ------------    ------------      ------------   ------------        ------------
Total                       0.00              0.00            0.00           196.68         196.68             -196.68
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Element Bozeman
25 Mendenhall Street
Bozeman, MT 59715
United States Of America
Tel: 406-582-4972


LOGAN BAHM                                                     Page Number            :      1
                                                               Guest Number           :      264943
                                                               Folio ID               :      A
                                                               Arrive Date            :      08-FEB-24     22:42
                                                               Depart Date            :      09-FEB-24     04:30
                                                               No. Of Guest           :      1
                                                               Room Number            :      405
                                                               Marriott Bonvoy Number :      0318




Element Bozeman FEB-09-2024 04:40 BETZAIDA
Date        Reference       Description                                                   Charges (USD)       Credits (USD)
08-FEB-24 RT405             Room Chrg - Special Corp                                              171.00
08-FEB-24 RT405             State Tax                                                              13.68
08-FEB-24 RT405             City/Local Tax                                                          2.00
09-FEB-24 VI                Visa-1915                                                                                -186.68
            ***For Authorization Purpose Only***
            xxxxxx1915
            Date               Time           Code                   Authorized
            08-FEB-24          22:42          036244                    188.10




                                        ** Total                                                 186.68              -186.68
                                        *** Balance                                                0.00




     I agreed to pay all room & incidental charges.




Tell us about your stay. www.element.com/reviews




                                                      Continued on the next page
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Element Bozeman
25 Mendenhall Street
Bozeman, MT 59715
United States Of America
Tel: 406-582-4972


LOGAN BAHM                                                          Page Number            :          2
                                                                    Guest Number           :          264943
                                                                    Folio ID               :          A
                                                                    Arrive Date            :          08-FEB-24           22:42
                                                                    Depart Date            :          09-FEB-24           04:30
                                                                    No. Of Guest           :          1
                                                                    Room Number            :          405
                                                                    Marriott Bonvoy Number :          0318


EXPENSE SUMMARY REPORT
                                                          Currency: USD



Date             Room & Tax        Food & Bev        Telecom               Other           Total           Payment
02-08-2024               0.00              0.00           0.00           186.68          186.68                 0.00
02-09-2024               0.00              0.00           0.00              0.00            0.00            -186.68
                    ------------      ------------   ------------      ------------    ------------        ------------
Total                    0.00              0.00           0.00           186.68          186.68             -186.68
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EXCEPTION: When departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver,
Detroit, Fort Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles,
Maui, Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
   Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
prior to scheduled departure.
   Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
baggage from the aircraft and loss of eligibility for denied boarding compensation.
   Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
   The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
The fare rules for your ticket may restrict your carry-on baggage allowance even further.
   For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
   If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
ticket.
   For the most current status of your reservation, go to our Flight Status page.
   Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.

Data Protection Notice
Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
personal data is collected, stored, used, disclosed and transferred

Customer Care Contact Information
We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
Customer Care form

Hazardous materials
Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous
materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
and corrosive materials. Additional information can be found on:

          united.com restricted items page
          FAA website Pack Safe page
          TSA website Prohibited Items page


Refunds Within 24 Hours
When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

Disinsection Notice
Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
countries, please visit the U.S. Department of Transportation's disinsection website.

IMPORTANT CONSUMER NOTICES
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Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the
value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
prior to the scheduled departure time. Travelers making changes will be responsible for the fare difference if the new itinerary has a
higher fare than the original ticketed itinerary. Regarding non-refundable tickets, if the new itinerary has a lower fare than the original
ticketed itinerary, changes can be made without charge, but the traveler is not entitled to any residual value. United may, in its sole
discretion, provide partial or full residual credit under certain circumstances. A change fee may apply for changes or cancellations made
to tickets for travel originating outside the United States, other than for travel between the United States and Mexico or the Caribbean.
Policies concerning your ability to make reservation changes and cancellations and any fees associated with such changes can be
found at Important travel notices | United Airlines.


Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,800
per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
for important information relating to baggage and other limitations of liability.


Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.
5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any
difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.


Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
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airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
already checked in or have a confirmed seat and boarding pass.


Advice to International Passengers on Carrier Liability - Passengers on a journey involving an ultimate destination or a stop in a
country other than the country of departure are advised that international treaties known as the Montreal Convention, or its
predecessor, the Warsaw Convention, including its amendments, may apply to the entire journey, including any portion thereof within a
country. For such passengers, the treaty, including contracts of carriage embodied in applicable tariffs, governs, and may limit the
liability of the Carrier in respect of death or injury to passengers, and for destruction or loss of, or damage to, baggage, and for delay of
passengers and baggage.


Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight chance that a seat will not be available on a
flight for which a person has a confirmed reservation. If the flight is overbooked, no one will be denied a seat until airline personnel first
ask for volunteers willing to give up their reservation in exchange for compensation of the airline's choosing. If there are not enough
volunteers, the airline will deny boarding to other persons in accordance with its particular boarding priority. With few exceptions,
including failure to comply with the carrier's check-in deadlines, which are available upon request from the air carrier, persons, denied
boarding involuntarily are entitled to compensation. The complete rules for the payment of compensation and each airline's boarding
priorities are available at all airport ticket counters and boarding locations. Some airlines do not apply these consumer protections to
travel from some foreign countries, although other consumer protections may be available. Check with your airline or your travel agent.




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